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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


  PROLITEC INC.,                                   §
                                                   §
         Plaintiff,                                §
                                                   §
         v.                                        §          Civil Action No. 20-984-WCB
                                                   §
  SCENTAIR TECHNOLOGIES, LLC.,                     §
                                                   §
         Defendant.                                §
                                                   §

                                    FINAL PRETRIAL ORDER
         The parties have submitted a Proposed Final Pretrial Order, Dkt. No. 266, which the court

  reviewed and discussed with the parties at the Pretrial Conference held on January 12, 2024. The

  court adopts the parties’ Proposed Final Pretrial Order (“PFPTO”) as the court’s Final Pretrial

  Order except as modified in the following respects:

         1. Paragraph 35 of the PFPTO is modified to provide that exhibits may not be published,

  displayed, or otherwise shown to the jury until after they have been qualified for admission into

  evidence. The final sentence of that paragraph of the PFPTO will be omitted.

         2. Paragraph 40 of the PFPTO is modified to require that any objection be raised with the

  court no later than 9:00 p.m. the same night.

         3. Paragraph 45 of the PFPTO is modified to require that any objection be brought to the

  court’s attention no later than 6:00 p.m. the same day.

         4. Paragraph 46 of the PFPTO is modified to require that any objection be brought to the

  court’s attention no later than 9:00 p.m. the same night.

         5. Paragraph 56 of the PFPTO is modified to require that any objection be raised with the

  court no later than 9:00 p.m. the same night.


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          6. Paragraph 57 of the PFPTO is modified to require the party calling a witness to testify

  by deposition at trial to provide the court with one copy of the transcript of the depositions, counter-

  designations, and counter-counter designations that will be played.

          7. Paragraph 61 of the PFPTO is modified to provide that the parties’ calculation of the

  time to be charged to each party for witnesses testifying by deposition will be provided to the

  court’s law clerk in advance of the playing of each witness’s testimony. The court’s law clerk will

  keep the official record of the time used by each party throughout the trial. Time will be charged

  against a party for (1) opening statements and closing arguments by that party; (2) time spent by

  that party examining that party’s witnesses; and (3) time spent on objections raised by that party.

          8. Paragraphs 69–75 of the PFPTO raises additional issues on which ScentAir wishes to

  be heard. At the pretrial conference, the court directed the parties to brief those issues and provided

  a schedule for that briefing during the week of January 15, 2024.

          9. Paragraphs 78–79 of the PFPTO: the court approves of the parties’ proposal to provide

  each juror with a notepad, pen, and copies of the asserted patents (including the inter partes review

  certificates for each patent), as well as the parties’ agreement to provide lunches for the jurors.

          10. The remaining portions of the PFPTO are adopted and incorporated as parts of the

  court’s final pretrial order.

          IT IS SO ORDERED

          SIGNED this 16th day of January, 2024




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                                                         WILLIAM C. BRYSON
                                                         UNITED STATES CIRCUIT JUDGE



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